IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI

SOUTHERN DIVISION
DAVID STEBBINS, )
)
Plaintiff, )
)
V. )Case No. 10-3305-CV-S-RED
)
RELIABLE HEAT & AIR, LLC, etal, )
And )
)
RANDALL RICHARDSON, et al. )
)
Defendants. )

OPPOSITION TO PLAINTIFFE’S MOTION AND AFFIDAVIT FOR
PERMISSION TO APPEAL IN FORMA PAUPERIS

COME NOW, Defendants and oppose and object to Plaintiff's Motion
and Affidavit for Permission to Appeal In Forma Pauperis as follows:

1. Plaintiff's Motion is not supported by an appropriate verified
Affidavit.

2. Plaintiff does not state or identify the issues to be raised on appeal
nor does he state any basis for an appeal.

3. Plaintiff seeks to file a frivolous appeal and unreasonably avoid
applying the appropriate costs involved with an appeal.

WHEREFORE Defendants request Plaintiff's Motion and Affidavit

. hy W. Allman Bar #19921
: 5049

Case 6:10-cv-03305-RED Document 156 Filed 10/12/11 Page 1 of 2

Branson, Mo 65615
Phone: (417) 332-2800
Fax: (417) 332-1008
Attorney for: Defendants

Case 6:10-cv-03305-RED Document 156 Filed 10/12/11 Page 2 of 2

